          Case 1:22-cv-02299-LGS Document 109 Filed 10/24/22 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                    :
 NETWORK DATA ROOMS, LLC,                                           :
                                              Plaintiff,            :
                                                                    :   22 Civ. 2299 (LGS)
                            -against-                               :
                                                                    :        ORDER__
 SAULREALISM LLC, et al.,                                           :
                                              Defendants.           :
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LORNA G. SCHOFIELD, District Judge:

         WHEREAS, by Orders dated August 16 and September 19, 2022, an evidentiary hearing

is scheduled for October 27, 2022, at 2:00 P.M., in Courtroom 1106 of the United States District

Court for the Southern District of New York at 40 Foley Square, New York, New York. It is

hereby

         ORDERED that the hearing is cancelled. A written decision on the issue of the

imposition of sanctions on Plaintiff will follow.

Dated: October 24, 2022
       New York, New York
